             Case 22-90032 Document 354 Filed in TXSB on 06/06/22 Page 1 of 1
                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                          June 06, 2022
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                        Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                        §
    In re:                                              §       Chapter 11
                                                        §
    GWG Holdings, Inc., et al.,1                        §       Case No. 22-90032 (MI)
                                                        §
              Debtors.                                  §       (Jointly Administered)
                                                        §

                         ORDER GRANTING WITHDRAWAL OF COUNSEL
                                  [Related to Docket No. ___]

             On this day, the Court considered the Motion for Withdrawal of Counsel (the “Motion”)

filed by Shirin
DENIED          Bayati,
          without       MojanNo
                  prejudice.   Kamalvand,
                                  reasons areThomas  Horton,
                                              given for       and Frank Will
                                                        the withdrawal. Moore,
                                                                             theand  anyhave
                                                                                 clients responses
alternative counsel? How should the clients be served?
thereto. The Court is of the opinion that the Motion should be GRANTED.

             It is therefore ORDERED that Eric M. English and M. Shane Johnson of Porter Hedges

LLP are withdrawn as attorneys of record for the Former Clients.

Houston,
Signed:   Texas
        June 06, 2022
Dated: ___________ , 2022

                                                            THE HONORABLE MARVIN ISGUR
                                                            UNITED STATES BANKRUPTCY JUDGE
                                                                            Marvin Isgur
                                                                   United States Bankruptcy Judge




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11
cases is available at the website of the Debtors’ proposed claims and noticing agent:
https://donlinrecano.com/gwg.


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